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IN THE UNITED STA'I'ES DISTRICT COURT i gm 7 w nw
FOR THE WESTERN DISTRICT OF TENNESSEE ; - . 1 ,-
wEsTERN DIVISION 05 ‘}U"J 2‘* HH*=" 3’~
) F::`m 3 !,;\ r`-l:lg
) :_?=‘rl "*'-¢'¢‘ll";-Ji\'b_"
UNITED STATES OF AMERICA )
)
Plaintiff, )
) _
v. ) Criminal No. f')‘?' - .'ZO°/f/ Ml
)
' )
J?dnéby 1¢4¢£@§! ) (GO-Day Continuance)
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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CON'I'INUANCE
AND EXCLUSION OF' TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the July
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, August 26, 2005, with trial to take place on
the September, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through September 16, 2005. Agreed in

open court at report date this 24th day of June, 2005.

This document entered on the docket sheet fn com llance
with Ru|e 55 andfor 32(b) FHCrP on f Q ' di 2 §

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SO ORDERED this 24th day of June, 2005.

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JO PHIPPS MCCALLA
UN 'I'ED S'I`A'I'ES DIS'I`RICT JUDGE

As%istant United States Attorney

 

 

 

 

Counsel for Defendant(s)

UNITED STESAT DISTRIC COURT - WESERT DISTRICT TENNESSEE

  

Notice of Distribution

This notice confirms a copy of the document docketed as number 78 in
case 2:04-CR-20015 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

   
 

 

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Arthur E. Quinn

THE BOGATIN LAW FIRM
1661 International Place Dr.
Ste. 300

1\/1emphis7 TN 38120

Honorable J on McCalla
US DISTRICT COURT

